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                                 CIVIL MINUTE ENTRY



    BEFORE:              Magistrate Judge Steven L. Tiscione

                        May 9, 2024
    DATE:

                        2:00 P.M.
    TIME:

    DOCKET              CV-23-9249 (OEM)
    NUMBER(S):
    NAME OF             AutoExpo Ent. Inc. et al v. Elyahou et al.
    CASE(S):

    FOR                 Mule
    PLAINTIFF(S):
    FOR                 Feinman, Emouna
    DEFENDANT(S):

    NEXT           See rulings below
    CONFERENCE(S):

    FTR/COURT     Cisco (2:00 - 2:30)
    REPORTER:
    RULINGS FROM Motion Hearing                        :
   Defendants' Motions to Stay Discovery [25][26] are granted. Discovery is stayed pending a
   decision on the Motion to Dismiss. Parties shall file a joint status report in 90 days.
